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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *

      vs.                                     *      Case No.: CCB-19-0351

CHERYL DIANE GLENN                            *

      Defendant
                       *********
           LINE WITHDRAWING EMERGENCY MOTION
      FOR COMPASSIONATE RELEASE PURSUANT TO 18 U.S.C. §
                       3582(c)(1)(A)(i)

      Comes Now, Ms. Cheryl Glenn, by and through undersigned counsel,

Nicholas G. Madiou, and William C. Brennan, Jr. Brennan, McKenna & Lawlor,

Chtd., and respectfully files this line withdrawing the previously filed emergency

motion for compassionate release under 18 U.S.C. § 3582(c)(1)(A). In support of

this pleading, counsel state the following:

      1.       On December 14, 2020, Ms. Glenn filed an emergency motion for

compassionate release pursuant 18 U.S.C. § 3582(c)(1)(A).

      2.       On December 23, 2020, the United States filed a response in opposition

to Ms. Glenn’s motion.

      3.       Since the filing of Ms. Glenn’s motion for compassionate release she

has been released from custody by the Bureau of Prisons and transferred to serve her

remaining term of incarceration on home confinement.


                                                        Approved. 1/8/21
                                                        Catherine C. Blake
                                           1            United States District Judge
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      4.       At this time, the undersigned counsel respectfully files this line

withdrawing Ms. Glenn’s previously filed emergency motion for compassionate

release pursuant 18 U.S.C. § 3582(c)(1)(A).

                                      Respectfully submitted,

                                            /s/
                                      _____________________
                                      Nicholas G. Madiou, Esq.
                                      William C. Brennan, Jr, Esq.
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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day, January 7, 2021, a copy of the foregoing was

sent via ECF to the United States Attorney’s Office for the District of Maryland.


                                           /s/
                                      ______________________
                                      Nicholas G. Madiou, Esq.




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